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 UNITED STATES DISTRICT COURT FOR THE
 WESTERN DISTRICT OF NEW YORK
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 BULLION SHARK, LLC,
                                                                             DEFENDANTS’
                                             Plaintiff,                      RULE 7.1 STATEMENT

                  -against-
                                                                             Index No. 23-CV-6529

 FLIP A COIN BULLION LLC, MATTHEW
 FORMAN, CHRISTINA CAPPELLO, JACOB
 FORMAN and JOSEPH FORMAN,

                                              Defendants.
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      Pursuant to Federal Rule of Civil Procedure 7.1 (formerly Local General Rule 1.9) and to

 enable District Judges and Magistrate Judges of the Court to evaluate possible disqualification or

 recusal, the undersigned counsel for Defendants certifies that the following are corporate parents,

 affiliates, and/or subsidiaries of said parties, which are publicly held:

     NONE.

 Dated: Calverton, New York
        December 1, 2023
                                                                       /s/ Todd Wengrovsky
                                                                       Todd Wengrovsky
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